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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    UC REGENTS, et al.,                                Case No.   17-cv-05211-WHA
                                                                                           Case No.   17-cv-05235-WHA
                                   8                   Plaintiffs,                         Case No.   17-cv-05329-WHA
                                                                                           Case No.   17-cv-05380-WHA
                                   9            v.                                         Case No.   17-cv-05813-WHA
                                  10    UNITED STATES DEPARTMENT OF                        ORDER OF RECUSAL
                                        HOMELAND SECURITY, et al.,
                                  11
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14          TO ALL PARTIES AND COUNSEL OF RECORD:

                                  15          I, the undersigned magistrate judge of the court, finding myself disqualified in the above-

                                  16   entitled action, hereby recuse myself from these cases and request that the District Court refer the

                                  17   discovery-related issues of this matter to another magistrate judge.

                                  18   IT IS SO ORDERED.

                                  19   Dated: April 4, 2018

                                  20                                                    ______________________________________
                                                                                        SALLIE KIM
                                  21                                                    United States Magistrate Judge
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